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UNITED STATES D ISTR ICT CO UR T
SO UTH ER N D ISTR ICT O FNEW Y O R K

                                            )
M ICH AELD AR D ASH TIAN, individuallyand on)        Case No. 17 CV4327 (LLS)
be halfofCO O PER SQUAR E VENTUR ES, LLC    )
ND AP, LLC and CH ANNELR EPLY               )
                    Plaintiffs,             )
                                            )
       -against-                            )
                                            )
D AVID GITM AN, JER EM Y FALK , SUM M IT    )
R O CK H O LD INGS, LLC, ACCELCO M M ER CE, )
LLC, D ALVA VENTUR ES, LLC,                 )
K O NSTANTY N BAGAIEV, O LESK K II          )
GLUK H AR EVand CH ANNELR EPLY , INC.       )
                     D e fe ndants.         )
                                            )




    DEFENDANTSDAVID GITM AN, ACCEL COM M ERCE, LLC, DALVA VENTURES, LLC,
       AND CHANNEL REPLY, INC.'SM EM ORANDUM OFLAW IN OPPOSITION TO
     PLAINTIFFS’ORDER TO SHOW CAUSE SEEKING A PRELIM INARY INJUNCTION




                                               D ENTO NS US LLP
                                               1221 Ave nue ofthe Ame ricas
                                               Ne w Y ork, NY 10020-1089
                                               BrianS. Cousin, Esq.
                                               brian.cousin@ de ntons.com
                                               LindsayF. D itlow, Esq.
                                               lindsay.ditlow@ de ntons.com
                                               M arkD . M e redith, Esq.
                                               mark.me redith@ de ntons.com
                                               (212)768-6700
                                               AttorneysforDefendants
                                               DavidGitman, AccelCommerce, LLC,
                                               DalvaVentures, LLC andChannelReply,
                                               Inc.
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                               PRELIM INARY STATEM ENT

       Thiscase isabouta busine ssdispute be twe e ntwoco-owne rs. PlaintiffM ichae l

D ardashtian(“D ardashtian”)and de fe ndantD avid Gitman(“Gitman”)e achowns50% invarious

related technologycompaniesinvolving software technologies, platform architecture, and

proce sse sthat,among othe rthings, provide a platform forworldwide retailersand store owne rs

associated withe Bayand Amazontocommunicate withcustome rsvia custome rse rvice

me ssage s. Througha se riesofe ve nts, Gi
                                         tmanbe gantosuspe ctD ardashtianofsiphoning funds

from the variousbusine sse sand e ve nforging hissignature inrelationtoone ofthe se e ntities. As

a result,acting ingood faith, Gitmantookstepstoprotectthe variousasse tsofthe e xisting

companies. Astrustand communicationcontinue d tobreakdownbe twe e nD ardashtianand

Gitman, howe ve r, D ardashtianaggressive lyturne d tothisCourtforinterfe rence . D ardashtian,

purportedlyonbe halfofhimse lfand e ntitiesCoope rSquare Ve ntures, LLC (“CSV”), ND AP

LLC ("ND AP")and Channe lR e ply, LLC (“CR LLC”), broughtthiscurrentactionse e king the

e xtraordinaryreme dyofa temporaryrestraining orde rand a preliminaryinjunction. The e ffort

should fail.

       D e spite the 219 -paragraphve rified complaintand the 41-page briefinsupport,plaintiffs

cannotshow, asthe ymust,e ithe ra (1)like lihood ofsucce ssonthe me ritsor(2)sufficiently

se riousque stionsgoing tothe me ritstomake the m a fairground forlitigation. Inde e d, with

respe cttothe name d e ntityplaintiffs, CSV, ND APand CR LLC, the complaintnotonlyfailsto

me e tthe standard fora preliminaryinjunction, itfailstostate a claim uponwhichreliefmaybe

granted. First,asa threshold technicalmatter, D ardashtianpurportstobring thisactiononbe half

ofCSV. H owe ve r, asGitmanpointsoutinhisaffidavit,the re isnofaciallyvalid ope rating

agree me ntforCSVbe fore thisCourt. Instead, the re isthe ope rating agree me ntforCoope r
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Square, LLC, ane ntitythatisnota name d partytothislawsuit. The claimsthatrelyonthe

Coope rSquare, LLC O pe rating Agree me nt,attache d asExhibit2 toD ardashtian’saffidavit,

should failthe refore atthisstage inthe litigation. The agree me ntisforane ntitythatisnotparty

tothislawsuit,and plaint
                       iffshave notme tthe irburde n, particularlyinlightofthe factthat

D ardashtian'sfamilyreale state attorne ywassolelyresponsible fordrafting the original

agree me nt.

             Se cond, and more important,e ve nassuming Coope rSquare, LLC’sO pe rating

Agree me ntcontrolsthe busine ssrelationshipofthe partiesinthisactionbe cause ofa scrive ne r's

e rrorinthe title ofthe ope rating agree me nt,thatagree me nte xpresslyprohibitsD ardashtianfrom

bringing anactiononbe halfofthe e ntityabse ntconse ntfrom Gitman. Unde rArticle 8.1(a)-(c)

ofthe Coope rSquare, LLC O pe rating Agree me nt,the re are twoM anage rsofthe Company, and

“[w]he ne ve rM anage me ntshallbe required totake anyaction, make anyde cisionore xe rcise any

discretionand the re shallbe more thanone M anage r, the ne xce ptasothe rwise provide d inthis

Agree me nt,the action, de cisionore xe rcise ofdiscretionshallrequire the approvalofallofthe

pe rsonsappointed asM anage r.”(e mphasisinthe original). The language iscrystalclear. W he re,

ashe re, the re ismore thanone M anage r, allM anage rshave toapprove ofthe action. M oreove r,

the re isnoe xce ptione lse whe re inthe O pe rating Agree me ntthatwould pe rmitD ardashtianto

bring anactiononbe halfofthe e ntity(forargume nt’ssake , he re, CSV). Gitman, ofcourse , has

notapprove d the lawsuitonbe halfofCSV. The refore, CSVmustbe dismisse d from thisaction,

aswe llasallclaimshe ld byCSVorrelating tothe purported CSVope rating agree me nt,

including trade se cretand proprietaryinformationmisappropriations, the ftand violations, breach

ofcontract,breachofthe implied cove nantofgood faithand fairde aling, and anybreachof




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fiduciarydutyclaimsowing toCSV. The re isa totalabse nce ofse riousque stionsgoing tothe

me ritswithrespe cttoclaimsrelating toCSVinthisaction.

             Third, ND APlike wise hasanope rating agree me ntthatpreclude sD ardashtianfrom

unilaterallybringing anactiononitsbe half. Asaninitialmatter, the ND APO pe rating

Agree me nt,attache d toD ardashtian’saffidavitasExhibi
                                                      t3, statesthatitsM anaging M e mbe rsof

“shallbe : Coope rSquare Ve ntures, LLC.” M oreove r, se tting aside the que stionofND AP’s

corporate standing asa resultofhaving CSVasitsM anaging M e mbe r, the ND APO pe rating

Agree me ntappe arstosugge st–howe ve runclearly--thatGitmanand D ardashtianmayalsobe

M anaging M e mbe rs. SeeSe ction7.2 (de scribing “Each”M anaging M e mbe r). W he the rornot

thisisthe case , whatisclearisthatD ardashtiancannot,ashe haspurported todo, bring an

actionunilaterallyonbe halfofND AP. Se ction7.7 statesthatonlyM anaging M e mbe rscanbind

the company“byunanimousconse nt”ifmore than1. O nce again, D ardashtianne e dsthe

conse ntofGitmantobring anactiononbe halfofND AP, and he hasfailed tose cure thatconse nt.

Thus, ND APmustbe dismisse d, aswe llasallclaimspe rtaining toanytrade se cretorproprietary

informationowne d byND AP, anyfiduciarydutyowe d toND APand anyothe rclaimsinvolving

thate ntity.

             Fourth, CR LLC’sclaimsalsofailforthe same reasonsasCSVand ND AP’s. CR LLC’s

O pe rating Agree me nt,attache d toD ardashtian’saffidavitasExhibit19 , mirrorsthe language

use d inthe Coope rSquare, LLC O pe rating Agree me nt. Asinthe Coope rSquare, LLC

O pe rating Agree me nt,Se ction8.1(c)ofthe CR LLC O pe rating Agree me nt,the D e cision-M aking

clause , requiresthatwhe ne ve rM anage me nttake s“anyaction, make [s] anyde cisionor

e xe rcise [s] anydiscretion, . . . the action, de cisionore xe rcise ofdiscretionshallrequire the

approvalofallofthe pe rsonsappointed asM anage r.” (e mphasisinthe original). D ardashtian



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failed tose cure the approvalofallofthe pe rsonsappointed asM anage r, name lyGitman. Ne w

Y orklaw isalsoclearonthispoint. W he re co-owne rse xist,abse ntanagree me nttothe contrary,

conse ntofthe othe rco-owne risrequired priortobringing anactiononbe halfofane ntity. All

claimsonbe halfofCR LLC, including those involving trade se cretthe ftallegations,

misappropriation, trade name claims, unfaircompe titionand fiduciaryobligationsflowing tothe

e ntityshould the refore be dismisse d. Atthispreliminaryinjunctionstage , the claimsdonotraise

a se riousissue requiring furthe rlitigation.

             Finally, D ardashtian’sownclaimsalsofailtome e tthe required fe de ralstandard.

Gitman’scompliance withthe TR O hascured manyofD ardashtian’sclaims, e spe cially

regarding acce sstofundsand passwords. H owe ve r, D ardashtian’sremaining conclusory

allegationsregarding trade se cretsand proprietaryinformationare be lied byGitman’sown

affidavit. The so-called proprietaryinformation, while technical,doe snotqualifyasconfide ntial.

Itrelateslarge lytoplatform architecture rathe rthanproprietysoftware coding. Thus, itdoe snot

trigge ranyofthe trade se cretormisappropriationclaimswithrespe cttoGitman. M oreove r, to

the e xtenthe isclaiming a breachoffiduciarydutyowe d byGitmantohim, Gitman’sown

actionsand affidavitde monstrate thatGitmanwasacting ingood faithinane fforttoshield the

companyfrom D ardashtian’sownpossible siphoning offundsand othe rpotentialbad acts.

Finally, D ardashtian’sclaim mustalsofailbe cause he se e ksane quitable reme dyofaninjunction.

H owe ve r, D ardashtian’sownforge ryofdocume ntsrelating toND AP, hispossible siphoning of

funds, hiscontinue d payme ntstohimse lfwhile Gitmanwe ntye arswithoutcompe nsationfrom

CSV, and hisfull-time role asY otpo, Ltd's("Y otpo")H e ad ofSalesindirectcompe titionwith

CR LLC allrende rD ardashtianwithuncleanhands, thusprecluding the reliefhe se e ksunde r

Ne w Y orklaw.



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             Plaintiffs’applicationfora preliminaryinjunctionshould be de nied initse ntirety. In

additiontofailing toshow sufficientlyse riousque stionsgoing tothe me rits, plaintiffsalsofail

the othe rtwoprongsofthe test: irreparable harm and thatpublic interestand the e quities

balance inthe irfavor. Forallofthe se reasons, the reliefsoughtshould be de nied.

                                       STATEM ENT OFFACTS

             Forthe Stateme ntofFacts, D e fe ndantsD avid Gitman, Acce lComme rce , LLC, D alva

Ve ntures, LLC and Channe lR e ply, Inc. he reinincorporate byrefe rence the AffidavitofD avid

GitmaninO ppositiontoPlaintiffs’O rde rtoShow Cause Se e king PreliminaryInjunction, dated

June 19 , 2017 (“GitmanAff.”). The Courtisrefe rred tothe GitmanAffidavitinitse ntirety, with

attache d e xhibits, foritsfullcontentand context.

                                              ARGUM ENT

I.           PLAINTIFFSCANNOT M EET THEIR HEAVY BURDEN REQUIRED FOR A
             COURT TO ISSUE THE EXTRAORDINARY RELIEFOFA PRELIM INARY
             INJUNCTION

             Ithaslong be e nrecognize d inthisCircuitthat"preliminaryinjunctive reliefisan

e xtraordinaryreme dyand should notbe routine lygranted." Pattonv. Dole, 806 F.2d 24, 28 (2d

Cir. 19 86). A partyse e king a preliminaryinjunctionhasthe burde ntode monstrate “(a)

irreparable harm and (b)e ithe r(1)like lihood ofsucce ssonthe me ritsor(2)sufficientlyse rious

que stionsgoing tothe me ritstomake the m a fairground forlitigationand a balance ofhardships

tipping de cide dlytoward the partyreque sting the preliminaryrelief.” CitigroupGlob. Markets,

Inc. v. VCG SpecialOpportunitiesMasterFundLtd., 59 8 F.3d 30, 35 (2d Cir. 2010);Mullinsv.

CityofNew York, 626 F.3d 47, 52-53 (2d Cir.2010). The injunctionstandard provide san

alternative tode monstrating a like lihood ofsucce sswhe nse riousque stionse xistastothe me rits

"tomake the m a fairground forlitigation." "The 'se riousque stions'standard pe rmitsa D istrict

Courttogranta preliminaryinjunctioninsituationswhe re itcannotde termine withce rtaintythat
                                                    5
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the moving partyismore like lythannottoprevailonthe me ritsofthe unde rlying claims, but

whe re the costsoutwe ighthe be ne fitsofnotgranting the injunction." CitigroupGlob. Mkts., 59 8

F.3d at35. Tosatisfythisalternate standard, howe ve r, the movantmuste stablishthat'the

balance ofhardshipstipsde cide dly'initsfavor." Id. (e mphasisadde d).

             Nomatterhow plaintiffstrytocharacterize the irapplication, the yplainlyse e kreliefthat

fliesinthe face ofthe controlling corporate docume nts. The refore, asa preliminarymatter,

plaintiffsare unable tode monstrate a like lihood ofsucce ssonthe me ritsore ve nsufficiently

se riousque stionsgoing tothe me ritstomake the m a fairground forlitigation. M oreove r,

plaintiffsfailtome e tthe irreparable harm orbalance ofthe e quitiesprongsofthe fe de ral

standard. W he re, ashe re, the re istestimoniale vide nce bywayofanaffidavitthatone ofthe

plaintiffsforge d the de fe ndant’ssignature, aswe llaspossiblysiphone d offfundsfrom the

companyand directlycompe ted withthe company, the doctrine ofuncleanhandswillpreclude

the e quitable reliefsought. SeeStokely-VanCamp, Inc. v. Coca-ColaCo., 646 F. Supp. 2d 510,

532-533, (S.D .N.Y . 2009 )(finding uncleanhandspreclude d e quitable reliefsought).

II.          PLAINTIFFSARE NOT LIKELY TO SUCCEED ON THE M ERITS

             A.     TheCorporatePlaintiffs' InjunctionApplicationIsBasedOnaFlawed
                    ReadingoftheVariousOperatingAgreementsandM ustFail

             None ofthe corporate plaintiffs–thatis, CSV, ND APand CR LLC –be longsinthis

lawsuit. D ardashtianhasnoauthoritytosue onthe irbe half. The ope rating agree me ntsprovide d

byplaintiffsplainlystate thatthisisso. M oreove r, plaintiffshave offe red novalid ope rating

agree me ntforCSV, atleastonitsface . Instead, plaintiffshave attache d anope rating agree me nt

forane ntitycalled Coope rSquare, LLC. GitmanAff., ¶5;D ardashtianAff., Ex. 2. Coope r

Square, LLC isnota partytothisaction. Thus, the Courtdoe snothave be fore itatthisstage in

the proce e ding e vide nce ofCSV’scorporate structure, itsope rating agree me nt,orits


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manage me ntstructure. Thus, CSV, ND APand CR LLC should notonlybe de nied the injunctive

relief e achse e ks, butthe yshould alsobe dismisse d from thislawsuit. M oreove r, allofplaintiffs’

claimsthatstem from e achofthose corporate e ntities, including anyproprietaryinformation,

trade se crets, orintellectualprope rtyclaimsowne d bythe corporate e ntities, aswe llascontract

claims, unfairtrade practice s, and conve rsionofcompanyasse tsshould alsobe dismisse d. Thus,

fore xample, ata minimum, Counts5, 6, 7, 9 , 11, 12, 13, 14, 15, and 19 allfailand should be

dismisse d inthe ire ntirety. Ata minimum, allothe rcountsshould be narrowe d toe xclude the

claimsbase d uponthe corporate plaintiffs.

             CSVisthe holding companythatownsND AP. ND AP, inturn, ope ratesCR LLC. Thus,

withouta faciallyvalid ope rating agree me ntforCSVbe fore thisCourt,plaintiffshave failed to

me e tthe irburde nofshowing a like lihood ofsucce ssonthe me ritsforanyofthe corporate

plaintiffs’claims. H owe ve r, e ve nifthisCourtassume sthatthe attache d ope rating agree me ntfor

Coope rSquare, LLC isthe controlling ope rating agree me ntforCSVdue toa drafting e rror

(cause d byD ardashtian'sfamilyreale state attorne yand soconstrue d againstD ardashtian), that

agree me ntne ve rthe lessrequiresD ardashtiantoge tthe othe rmanage r’sconse ntpriortobringing

anactiononbe halfofthe e ntity. Article 8.1(a)-(c)ofthe Coope rSquare, LLC O pe rating

Agree me ntprovide sthatthe re are twoM anage rsofthe Company, and “[w]he ne ve rM anage me nt

shallbe required totake anyaction, make anyde cisionore xe rcise anydiscretionand the re shall

be more thanone M anage r, the ne xce ptasothe rwise provide d inthisAgree me nt,the action,

de cisionore xe rcise ofdiscretionshallrequire the approvalofallofthe pe rsonsappointed as

M anage r.”(e mphasisinthe original). The language isclear. W he re, ashe re, the re ismore than

one M anage r, allM anage rshave toapprove ofthe action. The re isnoe xce ptione lse whe re inthe

O pe rating Agree me ntthatwould pe rmitD ardashtiantobring anactiononbe halfofthe e ntity



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CSV. Gitmanhasnotapprove d the actiononbe halfofCSV. The refore, CSVmustbe dismisse d

from thisaction, aswe llasallclaimshe ld byCSVorrelating tothe purported CSVope rating

agree me nt,including trade se cretand proprietaryinformationmisappropriations, the ftand

violations, breachofcontract,breachofthe implied cove nantofgood faithand fairde aling, and

anybreachoffiduciarydutyclaimsowing toCSV.

             Similarly, ND APalsohasanope rating agree me ntthatpreclude sD ardashtianfrom

unilaterallybringing anactiononitsbe half. Asa initialmatter, the ND APO pe rating Agree me nt,

attache d toD ardashtian’saffidavitasExhibit3, st
                                                atesthatitsM anaging M e mbe rs“shallbe :

Coope rSquare Ve ntures, LLC.” Assuming arguendothatthe Coope rSquare, LLC O pe rating

Agree me ntgove rns, thatagree me nt,asde monstrated above , requiresthe conse ntofallofthe

manage rsbe fore bringing anactiononbe halfofthe e ntity. Thus, the conclusionisthe same :

Gitman’sconse ntisa prerequisite tobringing suitonbe halfofND AP. M oreove r,

notwithstanding anyque stionsconce rning ND AP’scorporate standing be cause ofhaving CSVas

itsM anaging M e mbe r, the ND APO pe rating Agree me ntappe arstosugge st–howe ve runclearly-

-thatGitmanand D ardashtianmayalsobe M anaging M e mbe rs. SeeSe ction7.2 (de scribing

“Each”M anaging M e mbe r). W he the rornotthisisthe case , itisonce againcrystalclearthat

D ardashtiancannot,ashe haspurported todo, bring anactiononbe halfofND APwithout

Gitman’sconse nt. Se ction7.7 statesthatonlyM anaging M e mbe rscanbind the company“by

unanimousconse nt”ifthe re ismore thanone M anaging M e mbe r. D ardashtianhasagainacted

outside the scope ofhisauthority.

             CR LLC’sclaimsalsofailforthe same reasons. CR LLC’sO pe rating Agree me nt,

attache d toD ardashtian’saffidavitasExhibit19 , parrotsthe language use d inthe Coope rSquare,

LLC O pe rating Agree me nt. Asinthe Coope rSquare, LLC O pe rating Agree me nt,Se ction8.1(c)



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ofthe CR LLC O pe rating Agree me nt,the D e cision-M aking clause , requiresthatwhe ne ve r

M anage me nttake s“anyaction, make [s] anyde cisionore xe rcise [s] anydiscretion, . . . the action,

de cisionore xe rcise ofdiscretionshallrequire the approvalofallofthe pe rsonsappointed as

M anage r.” (e mphasisinthe original). D ardashtianfailed tose cure the approvalofallofthe

pe rsonsappointed asM anage r, name lyGitman.

             Ne w Y orklaw bolstersthisreading ofthe agree me nts. W he re co-owne rse xist,abse ntan

agree me nttothe contrary, conse ntofthe othe rco-owne risrequired priortobringing anaction

onbe halfofane ntity. InCrane, A.G. v. 206 W. 41stSt.HotelAssoc., L.P., 87 A.D .3d 174 (1st

D e p’t2011), the courtruled thatthe de adlockbe twe e ntwoco-owne rsove rwhe the rthe yshould

de fe nd a foreclosure actionagainsta hotelrequired the conclusionthatone partyhad no

authoritytocross-move tovacate anallege d de faultand se e kleave tofile ananswe r. Id. at176-

77 (citing SterlingIndus. v. BallBearingPenCorp., 29 8 N.Y . 483 (19 49 )). The co-owne ror50-

50 shareholde rsne e de d the conse ntofthe othe rtoact. SeeStonevFrederick, 245 A.D .2d 742,

666 N.Y .S.2d 29 4 (19 9 7). InCrane, the FirstD e partme ntreasone d thatthe parties’agree me nt

gove rne d, and the free dom ofcontractofthe partiesmustbe respe cted. 87 A.D .3d at177.

                 The se agree me ntsare nodiffe rentfrom those inCraneand SterlingIndustries. The

ope rating agree me ntshe re plainlylimitthe authorityofone manage rtoactunilaterallyonbe half

ofthe e ntity. Ne w Y orkcourtshave repe atedlyrespe cted the rightsofthe partiestocontract.

D ardashtianand Gitmane ntered intocontractsinwhichthe irauthoritytobring lawsuitswas

limited. D ardashtian, inpurporting tobring actionsonbe halfofCSV, ND APand CR LLC, has

acted be yond hisauthority. Allofthe reliefsoughtonbe halfofthe corporate e ntitiesshould

the refore be de nied, and the corporate e ntitiesdismisse d asplaintiffs. Importantly, the Court

mustalsodismissalltrade se cret,trade name , contract,misappropriation, conve rsionand



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proprietary/confide ntialinformation-related claimstothe e xtentthose claimsbe long tothe

corporate e ntities.

             Inde e d, atthispreliminaryinjunctionstage , the se claimsbroughtbythe corporate e ntity

plaintiffsdonotremotelyraise a sufficientlyse riousissue requiring furthe rlitigation. The y

should be dismisse d.

             B.     Dardshtian’sInjunctionApplicationIsBasedUponConclusoryAllegations,
                    ContradictedbyGitman’sAffidavit, andM ustFail

             D ardashtian’sownclaimsalsofailtome e tthe required fe de ralstandard. The claimsdo

notshow a like lihood ofsucce ssonthe me rits, ore ve nraise a sufficientlyse riousque stiongoing

tothe me rits. Gitman’scompliance withthe TR O hasalreadycured manyofD ardashtian’s

claims, including those regarding acce sstofundsand passwords. D ardashtian’sremaining

conclusoryallegationsconce rning trade se cretsand proprietaryinformationfailbe cause the y

provide noe vide nce whatsoe ve rthatanyinformationwasconfide ntialorproprietary. Inde e d,

D ardashtian’sconce rnsregarding confide ntialinformationare be lied byGitman’sownaffidavit.

The so-called proprietaryinformation, while technical,doe snotqualifyasconfide ntial. Itrelates

large lytoplatform architecture rathe rthanproprietysoftware coding. GitmanAff., ¶9 8. Thus,

itdoe snottrigge ranyofthe trade se cretormisappropriationclaims. M oreove r, tothe e xtent

D ardashtianisclaiming a breachoffiduciarydutyowe d byGitmantohim, Gitman’sown

actionsand affidavitde monstrate thatGitmanwasacting ingood faithinane fforttoshield the

companyfrom D ardashtian’sownpossible siphoning offundsand othe rpotentialbad acts.

GitmanAff., ¶80. Gitmanacted ina waythatwasconsistentwithanyfiduciarydutyhe owe d.

SeeBankofAmericaCorp. vLemgruber, 385 F. Supp. 2d 200, 224 (S.D .N.Y . 2005)(discussing

fiduciarydutyowe d whe ne xe rcising manage me ntauthority). D ardashtian, onthe othe rhand,




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repe atedlyrefuse d toprovide anykind ofaccounting ove rthe booksand records, whichraise d

se riousconce rnsforGitmanove rpossible siphoning offunds. GitmanAff., ¶80.

             M oreove r, claimsbyD ardashtianthatde fe ndants, including Gitman, are unfairly

compe ting withplaintiffsare rebutted byplaintiffs'ownsubmission. Tothe e xtentthe O pe rating

Agree me ntofCoope rSquare, LLC controls(se e D ardashtianAff., Exh. 2), ite xpresslyprovide s

inits"Compe titive Unde rtakings" clause that"anyM e mbe rand M anage me ntmaye ngage in

busine ssve nturesofanynature and de scriptioninde pe nde ntlyorwithothe rs, including, butnot

limited to, busine ssofthe characterde scribe d inArticle 3." D ardashtianExh.2, Art.12.1.

Article 3, inturn, e xpresslype rmitsowning me mbe rshipinterestsinothe rbusine sse ntities

e ngage d inthe busine ssofinterne tsales. Id. atArt.3. The refore, while the partiesplainlymust

stillrespe ctconfide ntialinformation, the yalsocontemplated e achretaining the right,unde rthe

Coope rSquare, LLC O pe rating Agree me nttoparticipate incompe titive busine sse s.

D ardashtian'scomplaintsregarding Gitman'ssuppose d compe titive e ffortsare accordingly

unde rmine d bythe ve ryagree me ntD ardashtianreliesuponinhisapplicationforinjunctive

relief. GitmanAff., ¶¶46-50.

             Finally, D ardashtian’sclaim mustalsofailbe cause he se e ksane quitable reme dyofan

injunction, and ye tplainlyhasuncleanhands. Unde rNe w Y orklaw, itisa "fundame ntal

principle that'he whocome sintoe quitymustcome withcleanhands.'" HermesInt'lv. Lederer

deParisFifthAve., Inc., 219 F.3d 104, 107 (2d Cir. 2000). Thisprinciple preclude sD ardashtian

from be ing granted injunctive relief. Fore xample, D ardashtian’sownforge ryofdocume nts

relating toND AP, whichwe re materialtothe ope rationsofND AP, are sufficienttopreclude the

reliefD ardashtianse e ks. GitmanAff., ¶21. Also, D ardashtian’spossible siphoning offunds




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and continuousrefusaltope rmitanaccounting furthe rsunde rmine shisclaimsforinjunctive

relief. GitmanAff., ¶80.

             Inaddition, D ardashtian’sfull-time role asY otpo’sH e ad ofSales, a companyindirect

compe titionwithCR LLC, alsounde rcutsD ardashtian’sclaim toe quitable relief. GitmanAff.,

¶¶46-50. D ardashtian'srole atY otporequiresa finding ofuncleanhandsfortworeasons. First,

D ardashtian'srole withY otpohasusurpe d hisworkatCSV. Ase xplaine d i
                                                                     nGitman'saffidavit,

from 2011 to2016, D ardashtiande dicated hise ffortstothe busine ssofCSV, including taking a

leading role inmanage rialand strategic thinking. H owe ve r, since D ardashtianhasturne d his

focustoY otpo, hisrole atCSVhasbe e ngreatlyreduce d. H isworknow islimited tomore ofa

financing and accounting role, and CSV'sbusine ssprospe ctshave suffe red substantiallyasa

result.

             Se cond, be cause D ardashtianhaschose ntoworkforY otpo, a directcompe titor, after

working along side Gitmanand histechnologicale xpe rtise forove rfive ye arsatCSV,

D ardashtianhasputhimse lfina positiontoine vit
                                              ablydisclose CSV'strade se cretand

proprietaryinformationtoY otpo. Thisdoctrine ofine vitable disclosure haslong be e n

recognize d inNe w Y ork. SeeEarthWeb, Inc. v. Schlack, 71 F. Supp. 2d 29 9 , 308-309 (S.D .N.Y .

19 9 9 )(citing case s). Unde rthe doctrine , irreparable harm maybe e stablishe d ina trade se cret

contextwhe re the movantcompe tesdirectlywiththe prospe ctive e mploye rand the transient

e mploye e posse sse shighlyconfide ntialortechnicalknowledge conce rning manufacturing

proce sse s, marke ting strategies, orthe like . Id. The law recognize sthatdisclosure of

confide ntialinformationis"ine vitable." Sucha riskwasprese ntinthe se minalcase ofPepsico,

Inc. v. Redmond, 54 F.3d 1262 (7thCir. 19 9 5), whe re the Se ve nthCircuitanalogize d the forme r

e mploye r'spredicame nttothatof"a coach, one ofwhose playe rshasleft,playbookinhand, to



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jointhe opposing team be fore the big game ." Pepsico, 54 F.3d at1270. H e re, D ardashtianhas

take nCSV'splaybooktoY otpo, whe re Y otpocompe tesinthe same cutting e dge industryof

fe e dbackmanage me ntasCSVhasbe e ndoing forye ars. SeealsoLumex, Inc. v. Highsmith, 9 19

F. Supp. 624, 629 (E.D .N.Y . 19 9 6)(finding a riskofine vitable disclosure base d on, interalia,

the e mploye e 'sacce sstohighlyse nsitive informationconce rning manufacturing costs, pricing

structure and ne w products, plusthe factthatthe industryinque stionwasa "'copycat'orcloning

industry"). W orse stillforD ardashtian, he has(wrongly)accuse d Gitmanofthe ve rysame type

oftrade se cretmisappropriationde spite the factthathe himse lfhasmisappropriated information

from CSV. ThisCourthasalreadyrejected thissortofbackward logic. SeeCoca-Cola, 646 F.

Supp. 2d at532-533 (finding uncleanhandsforaccusing a partyofwhatthatpartyitse lfhas

done ).

                 Unde rNe w Y orklaw, be cause he hase ngage d inine quitable conductthatismaterially

related tothe reliefhisse e ks, D ardastianshould be de nied the injunctive reliefhe se e ks. Laugh

FactoryInc. v. Basciano, 608 F. Supp. 2d 549 , 560 (S.D .N.Y . 2009 )(noting ine quitable conduct

thatismaterialtoreliefsoughtpreclude se quitable relief).

III.         PLAINTIFFSDO NOT PRESENT ANY SERIOUSQUESTIONSASTO THE
             M ERITSNOR DO THE EQUITIESTIPDECIDEDLY IN ITSFAVOR

             The injunctionstandard provide sanalternative tode monstrating a like lihood ofsucce ss

whe nse riousque stionse xistastothe me rits"tomake the m a fairground forlitigation." "The

'se riousque stions'standard pe rmitsa D istrictCourttogranta preliminaryinjunctioninsituations

whe re itcannotde termine withce rtaintythatthe moving partyismore like lythannottoprevail

onthe me ritsofthe unde rlying claims, butwhe re the costsoutwe ighthe be ne fitsofnotgranting

the injunction." CitigroupGlob. Mkts., 59 8 F.3d at35. Tosatisfythisalternate standard,

howe ve r, the movantmuste stablishthat'the balance ofhardshipstipsde cide dly' initsfavor." Id.


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(e mphasisadde d). Asshownabove , the re isnose riousque stionastothe me ritshe re asthe

corporate plaintiffsdonotbe long inthisaction, and D ardashtian’sclaimsare conclusoryand are

contradicted bythe affidavitofD avid Gi
                                      tman. Furthe rmore, Gitmanworke d forye arswithout

compe nsationfrom CSV. From 2015 to2017, Gitmandid nottake a draw from CSV. Fora

while D ardashtianmade the same financialsacrifice . H owe ve r, while Gitmanne ve rwas

compe nsated forye arsofworkatCSV, D ardashtianbe gantowrite che ckstopayhimse lf. This

unfairand ine quitable conducttiltsthe scalese ve nfurthe rinthe directionofGitmanand a de nial

ofthe injunctive reliefsought. The balance ofhardshipsand e quitiesfavorsGitmanhe re, and in

anye ve nt,stronglysugge ststhata conse rvative approachshould be take nbythe Court,whe reby

the partiesare free toe nterintothe ircontractsand resolve busine ssdiffe rence swithoutfurthe r

Courtinterfe rence .

IV.          PLAINTIFFSCANNOT DEM ONSTRATE IRREPARABLE HARM BECAUSE IT
             DOESNOT FACE AN IM M INENT LOSSTHAT ISDIFFICULT TO QUANTIFY

             "Pe rhapsthe single mostimportantprerequisite forthe issuance ofa preliminary

injunctionisa de monstrationthatifitisnotgranted the applicantislike lytosuffe rirreparable

harm be fore a de cisiononthe me ritscanbe rende red." Jayarajv. Scappini, 66 F.3d 36, 39 (2d

Cir. 19 9 5)(quoting CitibankN.A. v. Citytrust, 756 F.2d 273, 275 (2d Cir.19 85)). "Irreparable

harm 'me ansinjuryforwhicha mone taryaward cannotbe ade quate compe nsation.'" Id. (quoting

JacksonDairy, Inc. v. H.P. Hood& Sons, Inc., 59 6 F.2d 70, 72 (2d Cir.19 79 )). "M e re injuries,

howe ve rsubstantial,intermsofmone y, time and e ne rgyne ce ssarilye xpe nde d inthe abse nce of

a stay, are note nough." Id. (quoting Sampsonv. Murray, 415 U.S. 61, 9 0, 9 4 S. Ct.9 37, 9 53, 39

L.Ed.2d 166 (19 74)). W he nmone tarydamage sare available toade quatelycompe nsate the

allege d loss, a preliminaryinjunctionshould notissue . Id.




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             H e re, ifthe re isanyharm cause d bya breachofcontract,fiduciarydutyorunfair

completion, and similarclaimsbroughtbyplaintiffs, should the ybe found tobe wrongful–the y

would be fullycompe nsable bymone ydamage s. D ardashtian, whoappe arstohave violated the

ine vitable disclosure doctrine , would be free toshow if, atall,variousbusine ssinterestswe re

injured byde fe ndants’conduct. The se damage swould be readilycalculable and preclude e ntry

ofaninjunction. Noreasone xistsforthisCourttoinjectitse lfintothe parties’busine ssdispute.

                                            CONCLUSION

             Insum, plaintiffsfallwoe fullyshortofthe highburde nrequired ofa partyse e king a

preliminaryinjunction. Accordingly, forallthe reasonsse tforthabove , D e fe ndantsD avid

Gitman, Acce lComme rce , LLC, D alva Ve ntures, LLC, and Channe lR e ply, Inc. respe ctfully

submitthatplaintiffs'applicationbe de nied and thatthe case proce e d tolitigationinthe normal

course , withdismissalofallofthe e ntityplaintiffs.

D ate: June 19 , 2017                                D ENTO NS US LLP


                                                     By: /s/BrianS. Cousin_ _ _ _ _ _ _ _ _
                                                        BrianS. Cousin, Esq.
                                                        brian.cousin@ de ntons.com
                                                        LindsayF. D i tlow, Esq.
                                                        lindsay.dit
                                                                  low@ de ntons.com
                                                        M arkD . M e redith, Esq.
                                                        mark.me redith@ de ntons.com
                                                        1221 Ave nue ofthe Ame ricas
                                                        Ne w Y ork, NY 10020-1089
                                                         (212)768-6700
                                                        AttorneysforDef   endants
                                                        DavidGi  tman, AccelCommerce, LLC, Dalva
                                                        Ventures, LLC, andChannelReply, Inc.




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